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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                         8:07CR150
                                    )
            v.                      )
                                    )
DEAUNDRE BRADLEY,                   )                            ORDER
                                    )
                  Defendant.        )
____________________________________)


               On July 18, 2008, the defendant appeared with counsel on a motion for reduction

of sentence (Filing No. 83), filed by the plaintiff, pursuant to Rule 35 of the Federal Rules of

Criminal Procedure. After considering the comments of the parties and after evaluating the

assistance provided by the defendant, the Court finds that the government’s motion for reduction

of sentence should be granted. Accordingly,

               IT IS ORDERED:

               1) The government’s motion for reduction of sentence is granted.

               2) Defendant be committed to the custody of the Bureau of Prisons for a term of

seventy-one (71) months. Defendant is to be given credit for time previously served under the

previous Judgment and Committal Order dated April 2, 2008, which was signed and filed on

April 2, 2008 (Filing No. 76).
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               3) All other terms and conditions of the Judgment and Committal Order dated

April 2, 2008, which was signed and filed on April 2, 2008 (Filing No.76), remain in full force

and effect.

               DATED this 18th day of July, 2008.

                                             BY THE COURT:

                                             /s/ Lyle E. Strom

                                             LYLE E. STROM, Senior Judge
                                             United States District Court




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